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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

      WILLIAM ROBINSON,                      )
                                             )
                   Plaintiff,                )    Case No.:
                                             )
      v.                                     )    1:18-cv-2350-MHC-JSA
                                             )
      FRANK JONES, et al.,                   )
                                             )
                   Defendants                )

     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’
              MOTION FOR SUMMARY JUDGMENT

      William Robinson alleges that four Fulton County deputies participate in an

incident in which one of them repeatedly punched, kicked, and tased him while he

was handcuffed. The evidence supports his claim. Taser logs show a taser

belonging to one of the deputies was discharged eight times. Jail video shows

Robinson being dragged into a room of jail, while handcuffed, by three officers

and later being dragged out of the room, unconscious, by four officers.

      Defendants are two of the deputies involved in the incident. Both were

present, but deny that any force was used against Robinson. When faced with

evidence—taser logs, video surveillance, and medical records—they appear to

backtrack, and claim that only Deputy Fuqua (who is not a party here) used force

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against Robinson, and therefore they cannot be held liable for Robinson’s injuries.

      The problem is that Robinson unequivocally testified that Deputy Frank

Jones was the one who tased, punched, and kicked him. While Deputy Jones

disputes this testimony, the dispute must be resolved by a jury. Defendant

Saunders’ defense fairs no better. Robinson testified that Saunders stood by while

during the attack ready to serve as extra muscle if Robinson resisted. The Eighth

Amendment does not allow a jailer cannot stand idly by while another brutally

attack a handcuffed inmate and do nothing.

      a.     Statement of facts

             1.    Initial time in the jail

      During his initial time in the jail, jailers then placed Robinson in a restraint

chair for many hours. Robinson Dep. 27:3–9.1 Jailers then removed Robinson

from the restraint chair and moved him into a padded room. Id. 27:16–21.

Robinson’s shoulder was injured during his initial time in the jail. Id. 26:10–27:28.

Robinson believed that his arm was broken, and asked for medical attention. Id.

27:10–15. Eventually, jailers let Robinson out of the padded room and stated that

they would take him to the medical unit. Id. 27:22–25.




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            2.     Initial encounter with Frank Jones and the other deputies

      Robinson waited patiently for the shift change so that the incoming jailers

would take him to the medical unit to have his shoulder checked. Robinson Dep.

28:1–11. After shift change, a jailer appeared and Robinson believed he was going

to be taken to the medical unit. Id. 28:12–13. The jailer grabbed Robinson by the

shoulder, which caused Robinson pain. As a result, Robinson pulled away. Id.

28:13–16. The jailer who grabbed Robinson was Deputy Frank Jones. Jones

testified that when Robinson began to stand, Robinson “janked away like in an

aggressive manner,” and therefore “we placed him on the ground and put handcuffs

on him.” Jones Dep. 27:1–12. Robinson does not recall what happened next

because he lost consciousness. Robinson Dep. 28:13–16, 49:23–50:22, 51:13–

52:10. The next thing Robinson remembers is being dragged on the floor by his

ankles. Id. 28:12–20, 51:24–52:10.

            3.     Inside the property room

      The process at the jail is that new arrestees are typically taken for a medical

screening before they are dressed out to go to general population. Jones Dep.

35:13–36. Robinson did not go through a medical screening before being taken to

the property room. Id. The property room is the location where inmates are dressed


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out after being processed in booking. Jones Dep. 19:14–15. Three jailers then

stopped dragging Robinson and told him to get up and walk. Robinson Dep.

28:16–20. Robinson attempted to do so, but he was in a great deal of pain.

Robinson Dep. 28:16–20. After a few steps, Robinson said that he could not walk

and fell to the ground. Id.

      The jailers proceeded to drag Robinson, face down on the ground, into the

property room of the jail. Robinson Dep. 28:21–29:2; PelcoExport~40964792.exe

at 7:29:30–7:29:47. The three deputies then dragged Robinson into the shower area

of the property room. Robinson Dep. 52:11–25. The three deputies who dragged

Robinson into the shower were Rafferty Fuqua, Markennis Jackson, and Frank

Jones. See Saunders Dep. 38:14–17 (stating that he saw Fuqua dragging

Robinson), 42:21–24 (stating that Fuqua, Jones, Saunders, and Jackson were

present during the incident); PelcoExport~40964792.exe at 7:29:30–7:29:47

(showing Robinson being dragged by three officers); Robinson Dep. 47:13–23,

53:23–54:19 (identifying Jones as one of the three officers who dragged him into

the property room).

      There are no cameras in the shower area of the property room. Saunders

Dep. 45:5–10. Both Defendants know there are no cameras in that area of the jail.


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Jones Dep. 19:16–19; Saunders Dep. 45:5–10.

      After reaching the shower area, the Frank Jones slapped Robinson. Robinson

Dep. 29:8–15. At this point, Robinson’s hands were handcuffed behind him and his

feet were shackled. Robinson Dep. 29:11–15. This attack angered Robinson and he

said “my old lady his harder than you.” Robinson Dep. 29:11–19. After Robinson

said that, the Jones punched Robinson. Robinson Dep. 29:20–30:4. This prompted

Robinson to call Jones a coward for punching another person who is handcuffed.

Robinson Dep. 30:1–4. At that point, Jones dragged Robinson into the shower and

began punching and tasing him. Robinson Dep. 30:5–12. While in the shower area,

Robinson was punched and kicked by Frank Jones. Robinson Dep. 65:11–12.

Robinson was kicked twice in the face by Frank Jones. Robinson Dep. 84:16–20.

Frank Jones punched was a closed fist. Robinson Dep. 84:6–20. Jones hit Robinson

and, at that point, Robinson felt his teeth crush down. Robinson Dep. 30:13–18.

The assault continued after that. Id.

             4.     Frank Jones repeatedly tases Robinson.

      Jones did not have a taser assigned to him on May 3, 2016, but Fuqua did.

Jones Dep. 17:6–8. Taser logs for the taser assigned to Rafferty Fuqua show his

taser was discharged eight times in the span of 5 minutes at the time of the assault.


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Ex. 1 (showing eight “arc” events); Ex. 2 at 2 (explaining “arc” means “the arc

switch was pressed and the duration or length”); Ex. 3, Plaintiff 00145 (showing

taser assignments). The taser logs are approximately 8 minutes and 27 seconds

ahead of the actual time. See Ex. 2 at 2 (explaining the time discrepancy). Based

on the taser logs, the first time the taser was activated was 7:38:08 a.m. See Ex. 1

at 2. Correcting for the time discrepancy, the taser would have been deployed at

7:29:38 a.m. See Ex. 1 at 2, 2 at 2. The timestamp on the video surveillance shows

that Robinson was dragged into the property room at 7:29 a.m. See

PelcoExport~40964792.exe at 7:29:30–7:29:47. Frank Jones was the officer who

used the taser. “Frank Jones was tasering me. That was not Fuqua at all. That was

not Fuqua. That was Frank Jones with the taser.” Robinson Dep. 44:7–15. See also

id. 46:3–4. Robinson has a clear recollection of the facial appearance of each

Defendant. Id. 54:9–19. Robinson did not do anything to justify being tased.

Robinson did not show any aggression, and the tasing was not preceded by a

command for Robinson to do anything. Id. 59:18–60:1.

             5.    The other deputies standby

      During the assault, Markennis Jackson and Defendant Saunders were

standing nearby. Robinson Dep. 30:19–25. Saunders did not say anything, but


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appeared to there as a sort of enforcement. “If I would have responded physically,

then, you know, Saunders would have jumped in and Jackson would have jumped

in.” Id. 29:23–30:4, 44:8–15. A taser is audible when it is discharged. Saunders

Dep. 49:20–50:16. During the incident with Robinson, Saunders was close enough

to hear a taser being deployed. Saunders Dep. 50:21–51:3.

      During the attack, two gold teeth Robinson had in his mouth were dislodged.

The gold teeth were not temporary caps or a mouth piece. When placed in his

mouth, Robinson’s front teeth were shaved down and the gold teeth were glued in

place. Robinson Dep. 126:2–8. When Robinson’s gold caps fell out, one of the

officers remarked “we got trophies.” Robinson Dep. 125:19–126:1. Saunders was

present during the attack and Robinson could see Saunders during the attack. Id.

122:22–5. Saunders acknowledges that he would have been able to hear a taser

being activated from the place where he was getting Robinson’s clothes. See IA

Investigation Audio, Charolita Scandrett - Cadet Deputy Robert Saunders

Followup.WMA at 11:48/19:58; Jones Dep. 38:15–20.

      Robinson was handcuffed during the attack. Robinson Dep. 29:20–30,

124:6–13; IA Investigation Audio, Charolita Scandrett - Cadet Deputy Robert

Saunders Followup.WMA at 06:57/19:58. At some point, Robinson lost


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consciousness. Robinson Dep. 31:5–8. Robinson was then dragged from the

property room by four deputies. See PelcoExport~40964792 at timestamp 7:34:23

(showing Robinson being dragged from the property room, seemingly

unconscious, by four officers).

             6.     Medical screening

      After the incident in the property room, Plaintiff was taken for a medical

screening. At Plaintiff’s medical screening the nurse noted that Robinson had a

loose tooth and other injuries from the attack. See Ex. 5, Medical Screening

Referral, at 1 (“mouth injuries from altercation”); id. at 2 (noting “body and head

injuries during altercation tased during altercation/hit in mouth with cut lips and

loose teeth”). The Jail’s licensed nurse practitioner Ronald Sanders remembers

screening William Robinson on May 3, 2016. IA Investigation Audio, Charolita

Scandrett - Follow Up Interview with LPN Ronald Sanders.WMA at 00:34/05:35.

Robinson’s Medical Prescreening Form notes: left shoulder injury, head injury,

injuries to hands, legs, and mouth, “tazed [sic] during altercation,” cough blood,

mouth injury. Ex. 6, Medical Prescreening Form. Later, two of Robinson’s teeth

fell out and the jail’s dentist attempted to re-implant them. Sanders noticed that

Robinson had a lot of bruises. IA Investigation Audio, Charolita Scandrett - Follow


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Up Interview with LPN Ronald Sanders.WMA at 03:09/05:35. There were bruises

on Robinson’s left arm and one to the cheek bone. IA Investigation Audio,

Charolita Scandrett - Follow Up Interview with LPN Ronald Sanders.WMA at

03:23/05:35.

      After the medical screening, Robinson was taken to the medical unit. Jones

Dep. 15:24–16:2 (explaining that inmates move to a medical screening and then to

the medical unit or the classification floor). Emzell Woods was in the medical unit

for depression. Inmates came into the holding tank. Robinson began arguing with

an older inmate and Woods tried to diffuse the argument. After that, both Robinson

and the other inmate were trying to get the attention of the officer at the unit. IA

Investigation Audio, Charolita Scandrett - Inmate Emzel Woods#16034.m4a at

00:40/06:21. Robinson became angry, swung on Emzell Woods, and hit Woods a

couple times. IA Investigation Audio, Charolita Scandrett - Inmate Emzel

Woods#16034.m4a at 01:43/06:21. At the time he was in medical, Robinson

already had tissue in his mouth from a prior altercation in booking. IA

Investigation Audio, Charolita Scandrett - Inmate Emzel Woods#16034.m4a at

02:05/06:21. Emzell Woods did not hit Robinson at all. IA Investigation Audio,

Charolita Scandrett - Inmate Emzel Woods#16034.m4a at 03:18/06:21; Robinson


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Dep. 72:12–15 (explaining that Woods “did not even get a lick in that fight”).

             7.     Dental treatment

      Robinson was eventually taken to the dental clinic. Robinson came into the

dentist as an emergency. IA Investigation Audio, Charolita Scandrett - Dr Valerie

Smith Dental Director #16034.m4a at 02:26/08:25. Robinson went to the clinic

sometime after 3:30 p.m. IA Investigation Audio, Charolita Scandrett - Dr Valerie

Smith Dental Director #16034.m4a at 04:55/08:25. Robinson presented to the

dental clinic with teeth number 8 and 9 in hand. IA Investigation Audio, Charolita

Scandrett - Interview with Dr Joyce Cosby.WMA at 02:26/08:21. The jail staff was

going to try to splint the teeth in by securing them to the adjacent teeth but the

prognosis was poor and they felt teeth may not hold due to the damage to the area

due to trauma to the area. IA Investigation Audio, Charolita Scandrett - Dr Valerie

Smith Dental Director #16034.m4a at 01:46/08:25.

      b.     Argument and Citation of Authority

             1.     The Eighth Amendment

      Plaintiff brought claims against both Defendants under the Eighth

Amendment. See Amend. Compl., Doc. 37 at 9. There are two aspects to the claim.

First, the use of excessive force. Second, the failure to intervene in the use of force.


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                    A.     A jury could find Frank Jones used excessive force and
                           acted with malicious and sadistic intent in violation of
                           the Eighth Amendment

      The Eighth Amendment prohibits the use of force against a prisoner when

that force is used “maliciously and sadistically.” Skrtich v. Thornton, 280 F.3d

1295, 1301 (11th Cir. 2002). In determining whether force was used maliciously

and sadistically, courts must consider: (1) “the need for the application of force”;

(2) “the relationship between the need and the amount of force that was used”; (3)

“the extent of the injury inflicted upon the prisoner”; (4) “the extent of the threat to

the safety of staff and inmates”; and (5) “any efforts made to temper the severity of

a forceful response.” Cockrell v. Sparks, 510 F.3d 1307, 1311 (11th Cir. 2007)

(quotation marks omitted). “From consideration of such factors, ‘inferences may

be drawn as to whether the use of force could plausibly have been thought

necessary, or instead evinced such wantonness with respect to the unjustified

infliction of harm as is tantamount to a knowing willingness that it occur.’” Skrtich

v. Thornton, 280 F.3d 1295, 1300–1301 (11th Cir. 2002) (quoting Whitley v. Albers,

475 U.S. 312, 321 (1986)).

      The core judicial inquiry is whether force was applied in a good-faith effort

to maintain or restore discipline, or maliciously and sadistically to cause harm.


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Wilkins v. Gaddy, 559 U.S. 34, 37 (2010). So while the extent of injury is a factor

to consider, the focus the inquiry is on the nature of the force applied, not on the

extent of the injury inflicted. Id. “An inmate who is gratuitously beaten by guards

does not lose his ability to pursue an excessive force claim merely because he has

the good fortune to escape without serious injury.” Id. at 38.

      Finally, in assessing an officer’s state of mind, courts also consider

“threatening language as part of a totality of circumstances can be relevant to what

is constitutionally reasonable or, as in this case, to the determination of reasonable

inferences about the [o]fficers’ subjective state of mind.” Bozeman v. Orum, 422

F.3d 1265, 1272 n.11 (11th Cir. 2005), abrogated by Kingsley v. Hendrickson, 576

U.S. 389 (2015).

                          i.     A jury could find that Frank Jones was the
                                 assailant

      Robinson testified “that was Frank Jones holding that taser. Frank Jones was

tasering me. That was not Fuqua at all. That was not Fuqua. That was Frank Jones

with that taser.” Robinson Dep. 44:8–15; 45:25–46:4; 47:24–48:4.

      Defendants call this testimony “laughable” and “entirely refuted by the

record before this Court.” Doc. 112-1 at 16. They cite evidence that Fuqua was on

duty during the incident and Fuqua’s taser log showed the taser had been

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discharged eight times. Id. That evidence is not disputed, but does not refute

Robinson’s testimony. Defendants seem to believe that it is impossible for one

officer to use another officer’s taser—implying the fact that a taser is assigned to

one deputy means the taser cannot be handed to another.

      Continuing their exaggeration, Defendants claim “Plaintiff has either

continuously lied since he first complained about this incident or been completely

mistaken since the beginning.” Doc. 112-1 at 17–18. This is a blatant

mischaracterization of the evidence. Robinson has been consistent in identifying

Frank Jones as the primary assailant since he identified Jones in a court room on

December 2, 2016.

      The evidence shows that, on that date, the Fulton County Superior Court

held a warrant application hearing at which each of the four assailants were

present. Robinson specifically identified Frank Jones as officer who tased and

kicked him. See Ex. 4, Warrant Application Transcript on 12-06-2016, at 3:20–24

(“Him right there in the middle, the one with the black. That’s the one that kicked

me in my face. That’s the one that tased me.”), (“THE COURT: What is your

name? Is your name Fuqua? OFFICER JONES: My name is officer Jones, sir.”).

That identification followed a previous warrant application hearing at which


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Rafferty Fuqua disclaimed that he used force on Robinson. See Doc. 112-10 at

4:14–20 (“Officer Jones was impersonating Officer Fuqua”), 7:3–9 (Fuqua stating

“[Robinson] just said again it wasn’t me”), 7:18–20 (Robinson stating that “[i]f

Officer Jones had on the proper identification this man would not be here.”).

      Robinson has also maintained that he misidentified Rafferty Fuqua as his

assailant since before this lawsuit was filed. See Doc. 112-10 at 4:14–20. And

Robinson dismissed his case against Rafferty Fuqua on the basis of the strength of

his identification of Frank Jones as his assailant. See Doc. 49 at 2.

      Defendants argue that “Plaintiff himself acknowledges that any alleged

excessive force used against him was by Officer Fuqua only.” Doc. 112-1 at 18.

This is a blatant misrepresentation of Robinson’s testimony. In support, Defendants

cite Robinson Dep. 119:5–123:23. In that span of testimony, Robinson stated: “I

was in the shower being assaulted by Jones a/k/a Fuqua,” id. 120:11–13; “and

that’s when Jones a/k/a Fuqua started hitting,” id. 122:6–7; “[Q.] . . .So which

deputy is the one that hit you and loosened your teeth? A. That would be Jones a/k/

a Fuqua, fake name tag Fuqua Jones who was the only . . .” id. 84:1–5. Robinson’s

references to “Jones a/k/a Fuqua” stem from his initial confusion of the name of

his assailant because, as Robinson testified, “Jones . . . [was] wearing Fuqua’s


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name tag. We just called him by Jones a/k/a Fuqua. That was Jones.” Id. 49:16–19.

      Robinson’s other testimony is unequivocal: “Jones is the one that’s dragging

me,” id. 47:22–23; “Jones is the only one that touched me,” id. 48:1; “I remember

Jones—let me tell you how I remember Jones’s facial structure,” id. 54:10–11;

“that’s when Frank Jones comes in and tases me in my back when I’m face down,

out of it,” id. 100:7–11.

      Even opposing counsel, who now contends that Robinson testified that

Fuqua was the assailant, acknowledged that Robinson named Jones as the assailant

during her questioning. Id. 59:5–13 (“[Q.] Is there anything else beyond what

you’ve already testified to which is that Jones was the one who tased you and he

was the one that drug you . . .”). Any dispute over the identity of Robinson’s

assailant must be resolved by a jury.

                            ii.   A jury could find that Frank Jones acted with
                                  malicious and sadistic intent

      Robinson testified that Frank Jones knocked him to the ground while

handcuffed and dragged him into an area of the property room with no cameras.

Then, while Robinson was still handcuffed, tased him eight times, including in the

genitals, kicked him so hard that Robinson eventually lost two teeth. When they

removed Robinson from the property room, the four deputies threw Robinson to

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the floor while his hands were cuffed behind his back, causing Robinson to slam

face first into the floor. Apparently unconscious as a result, the deputies continued

to drag Robinson along the ground. See PelcoExport~40964792 at timestamp

7:34:23.

      Robinson admits that, during the attack, he cursed at the deputies, and

challenged Frank Jones for being willing to attack a person who was handcuffed.

See Robinson Dep. 29:16–19 (“I said you hit like a bitch. My old lady hits harder

than you.”), 30:1–4 (“I’m like, man, I’m handcuffed. You’re a coward. You’re a

coward with a badge on. You hit me while I’m handcuffed.”).

      The response to Robinson’s statements were to drag him into the shower,

while still handcuffed, and begin to tase, punch, and kick him. Robinson 30:2–22.

During this time, the deputies present laughed and joked. Id. 30:19–23. Aside from

those statements, Robinson’s narration of events shows that he did not engage in

disruptive conduct from the time he was knocked down and dragged to the

property room until the attack in the shower area.

      After the incident, Frank Jones lied by stating to internal affairs that no

deputy used any force on Robinson. He claims he never heard a taser deployed

and never saw one brandished. See Jones Dep. 38:15–20. He claims this in spite of


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clear evidence showing the use of a taser. Jones testified that “the only thing that

happened inside the property room, we took the handcuffs off, made him take his

cloths and put on the—the blue Fulton County uniform.” Jones Dep. 36:18–21. A

jury could find these statements are lies, and indicative of Jones’ mental state

during the incident.

      By doubling down on the position that no force was used against Robinson,

Defendants have admitted that Robinson did not do anything to justify any force

against him. See Jones Dep. 36:22–25 (“the only thing that happened inside the

property room, we took the handcuffs off, made him take his cloths and put on the

—the blue Fulton County uniform.”); Robinson Dep. 59:18–60:1 (testifying he did

not do anything to justify being tased, and did show any aggression, and the tasing

was not preceded by a command for him to do anything).

      This evidence is sufficient for a jury verdict in Robinson’s favor. See, e.g.,

McReynolds v. Alabama Dep’t of Youth Servs., 204 F. App’x 819, 822 (11th Cir.

2006) (find the plaintiff “made sufficient allegations to allow the inference of

malicious and sadistic intent . . . [where] [d]uring the assault, at least one defendant

continued to strike the minor after he was injured . . . [and] one of the defendants

made statements indicating that he derived pleasure from assailing the minor.”).


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      Robinson describes a brutal attack. The taser log, medical records, and

limited video surveillance support each of his allegations. A jury could easily find

Frank Jones acted with malicious and sadistic intent when he dragged Robinson

into an area of the jail without security camera, beat and tased Robinson, threw

him to the ground, dragged him unconscious from the room, and then lied about it

by claiming it never happened.

                    B.     A jury could conclude that Deputy Saunders failed to
                           intervene in the unjustified use of force

      The Eighth Amendment’s prohibition on the malicious and sadistic use of

force concomitantly “imposes a duty on prison officials to take reasonable

measures to guarantee the safety of the inmates.” Caldwell v. Warden, FCI

Talladega, 748 F.3d 1090, 1099–1100 (11th Cir. 2014) (quoting Farmer, 511 U.S.

at 832). Pursuant to this duty, “an officer can be liable for failing to intervene when

another officer uses excessive force.” Priester v. City of Riviera Beach, 208 F.3d

919, 924 (11th Cir. 2000) (“If a police officer, whether supervisory or not, fails or

refuses to intervene when a constitutional violation such as an unprovoked beating

takes place in his presence, the officer is directly liable[.]” (alteration in original)

(quoting Ensley v. Soper, 142 F.3d 1402, 1407–08 (11th Cir. 1998))); see also

Skrtich v. Thornton, 280 F.3d 1295, 1301 (11th Cir. 2002). “Even if an officer

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personally did not use excessive force, an officer who is present at the scene can be

alternatively liable for failing to take ‘reasonable steps to protect the victim of

another officer’s use of excessive force.’” Johnson v. White, 725 F. App’x 868, 878

(11th Cir. 2018) (per curiam) (quoting Hadley v. Gutierrez, 526 F.3d 1324, 1330–

31 (11th Cir. 2008)).

      This liability “arises when the officer is in a position to intervene and fails to

do so.” Priester, 208 F.3d at 924. A successful claim requires “facts showing the

necessity or real opportunity for the defendant-officers to intervene in a fellow

officer's unlawful conduct.” Keating v. City of Miami, 598 F.3d 753, 764 (11th Cir.

2010). When events occur so quickly that the officer cannot intervene in the use of

excessive force, he or she is not liable for another's constitutional violation. Fils v.

City of Aventura, 647 F.3d 1272, 1290 n.21 (11th Cir. 2011) (citing Brown v. City

of Huntsville, 608 F.3d 724, 740 n.25 (11th Cir. 2010)).

                           i.     A jury could conclude that Deputy Saunders had
                                  knowledge of the attack, an opportunity to
                                  intervene, and failed to do so

      Defendants argue that “Plaintiff himself acknowledges that Deputy Saunders

was not even in the room when any alleged gratuitous force was used against him.”

Doc. 112-1 at 3, 18. (citing Robinson Dep. 120:7–121:16). That is not an accurate


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representation of the testimony.

      Robinson testified that Saunders saw the beginning of the incident. See

Robinson Dep. 122:1–11 (testifying “[h]alf of my body was inside the shower. My

legs were in the shower. I’m face down and I’m looking up. I see Saunders on the

right hand—the left-hand side and Jackson on the right-hand side. And that’s when

Jones a/k/a Fuqua started hitting and he started off with a slap fist. Then I

commented he hits like a girl. And it turned into a punch and that was in front of

Saunders and Jackson. That’s when he gets behind me to my legs and drags me

completely into the shower . . .”).

      Defendant cites Plaintiff’s deposition testimony for the proposition that

“Deputy Saunders was not even in the room when Officer Fuqua committed his

alleged acts of force.” Doc. 112-1 at 18 (citing Robinson Dep. 120:7–121:16). In

that portion of the deposition, Plaintiff stated that Saunders and Jackson were “in

an adjoining room” next to the shower where the assault occurred. Id. 121:4–11.

Saunders could hear the punches and kicks. Id. 121:17–21. Saunders also

acknowledges that he would have heard a taser being used. See IA Investigation

Audio, Charolita Scandrett - Cadet Deputy Robert Saunders Followup.WMA at

11:48/19:58.


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      Robinson testified that Deputy Saunders acted as an overseer during the

attack. Robinson Dep. 48:5–14. Saunders acted as a “bodyguard” and was laughing

while Jones attacked Robinson. Robinson Dep 122:20–123:3. Robinson believes

that if he “would have done something” in response to the attack, that “Saunders

would have beat me.” Robinson Dep 122:20–123:3. Defendants’ theory is that

Saunders cannot be held liable because he willfully decided not to observe an

attack on a handcuffed inmate. That is not a defense to liability; that is the

quintessential example of failing to intervene. Saunders had the opportunity to stop

the attack, and instead he did nothing.

                    C.     If a jury finds that Defendants violated the Eighth
                           Amendment, they are not entitled to qualified immunity

      Qualified immunity is not available to an officer who uses excessive force

with malicious and sadistic intent. Skrtich v. Thornton, 280 F.3d 1295, 1302 (11th

Cir. 2002). See also Skelly v. Okaloosa Cty. Bd. of Cty. Comm’rs, 456 F. App’x

845, 848 (11th Cir. 2012). Because a jury could find that both Defendants violated

the Eighth Amendment, qualified immunity is not available as a defense. To

whatever extent more clarity of the law is necessary, Plaintiff submits that the

authority cited above clearly established that no reasonable officer could believe it

was constitutional to beat a handcuffed inmate senseless and tase him eight times,

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or to stand around and do nothing while another officer did it.

             2.     Plaintiff suffered great physical injury and is entitled to
                    recover compensatory damages under the PLRA

      The Eleventh Circuit recently addressed the issue of when an injury is more

than de minimus under the PLRA. In Thompson v. Smith, 805 F. App’x 893, 904

(11th Cir. 2020), the court held that being pepper sprayed, which resulted in only a

temporary injury, was more than de minimus. In doing so, it noted types of injuries

which were more than de minimus. See id. at 904 (citing Irving v. Dormire, 519

F.3d 441, 448 (8th Cir. 2008) for the proposition that “a punch resulting in

loosened teeth and two months of breathing difficulties was greater than de

minimis physical injury within the meaning of § 1997e(e).”). Thompson also

reiterated that “routine discomforts” associated with confinement do not cross the

physical injury threshold. Thompson, 805 F. App’x at 904.

      Here, a jury could find that the use of force resulted in the loss of Plaintiff’s

two front teeth. Immediately after the attack, Plaintiff was taken to a medical

screening. That medical screener noted that Robinson had a loose tooth and other

injuries from the attack. See Ex. 5, Medical Screening Referral, at 1 (“mouth

injuries from altercation”); id. at 2 (noting “body and head injuries during

altercation tased during altercation/hit in mouth with cut lips and loose teeth”). See

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also Interview with Dr Joyce Cosby.WMA at 02:26/08:21; Ex. 7, Dental Treatment

Note (“exam shows the pt. Was hit in the mouth and tooth #8 and #9 were avulused

[sic], recommended splinting the teeth . . . the prognois [sic] of the teeth is poor.”).

      Defendants blame the injuries to Robinson’s teeth on an altercation which

later in the medical unit. This encounter occurred between the time of Robinson’s

initial medical screenings and his visit to the dentist. Defendants argue that this

second altercation is the one which “resulted in . . . Plaintiff’s teeth being knocked

out.” Doc. 112-1 at 12. Defendants are correct that was a subsequent, and short-

lived, scuffle in the medical unit. But there is ample evidence to show that the

injuries to Robinson’s mouth did not stem from that incident. The name of the

other inmate involved is Emzell Woods. At the time Emzell Woods saw Robinson,

Robinson already had a tissue in his mouth. See IA Investigation Audio, Charolita

Scandrett - Inmate Emzel Woods#16034.m4a at 02:05/06:21. And Woods stated to

the jail’s investigator that he never hit Robinson. Id. at 03:18/06:21.

      Robinson also testified that “Woods didn’t really even get a lick in that

fight.” Robinson Dep. 72:12–15. And that the injuries to his mouth had occurred in

the earlier attack. Id. 72:19–25. Thus, there is an issue of fact as to whether

Defendants were responsible for the loss of Plaintiffs’ teeth. A jury could also find


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that Plaintiff suffered ongoing physical injuries from the attack. The injuries

described by Plaintiff are far more than a “routine discomfort.”

             3.     Plaintiff’s state law claims against Deputy Jones must
                    proceed to trial

      The Georgia Constitution states that government employees are liable for

torts committed in the performance of their official duties if done “with actual

malice or with actual intent to cause injury.” Ga. Const. art. I, § II, ¶ IX(d); Gilbert

v. Richardson, 264 Ga. 744 (1994). “Actual malice” requires “a deliberate intention

to do a wrongful act.” Adams v. Hazelwood, 271 Ga. 414 (1999). In Bateast v.

DeKalb County, 258 Ga. App. 131, 132–33 (2002), the court held that a jury could

make a reasonable inference that police officers falsified evidence, and arrested the

plaintiff despite knowing that she did not commit the crimes of which they accused

her, and therefore would not protected by official immunity. See also City of

Atlanta v. Shavers, 326 Ga. App. 95, 98, 756 S.E.2d 204, 207 (2014) (same),

overruled on other grounds by Rivera v. Washington, 298 Ga. 770, 784 S.E.2d 775

(2016). Here, a jury could find that both officers lied about participating in the

assault and attempted to cover it up. The evidence which establishes the violation

of the Eighth Amendment shows Defendant are not entitled to official immunity.

      With regard to Saunders, it is correct that he did not commit an assault or

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battery against Plaintiff. But Saunders can still be liable because the assault

constituted a civil conspiracy. “To recover damages based on a civil conspiracy, a

plaintiff must show that two or more persons combined either to do some act which

is a tort, or else to do some lawful act by methods which constitute a tort. The

conspiracy of itself furnishes no cause of action. The gist of the action is not the

conspiracy alleged, but the tort committed against the plaintiff and the resulting

damage.” McIntee v. Deramus, 313 Ga. App. 653, 656 (2012) (citations,

quotations, and punctuation omitted). All that is required is that “two or more

persons in any manner, either positively or tacitly, arrive at a mutual understanding

as to how they will accomplish an unlawful design.” Id. The evidence shows

Saunders knew there were no cameras in the area of the jail where Robinson was

beaten, Saunders lied about there being no taser used, and lied about Robinson

being dragged unconscious from the property room. This would permit a jury to

find an agreement among the deputies to injure Robinson and to cover it up.

      Submitted this 2nd day of November, 2020.

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                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that this motion has been filed

electronically via the CM/ECF system which will automatically serve the

document on all counsel of record.

      This 2nd day of November , 2020.

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